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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,

VS.                                           CRIMINAL ACTION NO. 3:07CR154-P-A

ALI OBAD and SHEILA
AL-SANABANI,                                                                 DEFENDANTS.

                                ORDER CONTINUING TRIAL

        This matter comes before the court upon Defendant Sheila Al-Sanabani’s fourth motion for

continuance [79]. After due consideration of the motion, the court finds as follows, to-wit:

        Trial is currently set for May 12, 2008. Defense counsel requests a continuance to

accommodate trials set before other courts and to allow Defendant Sheila Al-Sanabani additional

time to recover from her April 16, 2008 delivery of her child. The Government has no objection to

the continuance.

        The above circumstances enable the Court to exclude, pursuant to 18 U.S.C. section

3161(h)(8)(A), the period of delay from March 31, 2008 until the new trial date to be set in this

matter. The time is excludable under subsection (h)(8)(A) because, given the circumstances

described above, a continuance is necessary to afford the defendant’s counsel more time to

adequately prepare for his client’s defense and to allow the defendant to recover from the recent

delivery of her child. As such, the ends of justice served by the granting of this continuance

outweigh the best interests of the public and the defendant in a speedy trial.

        IT IS THEREFORE ORDERED AND ADJUDGED that:

        (1) Defendant Sheila Al-Sanabani’s motion for continuance [79] is GRANTED;

        (2) Trial of this matter is continued as to Defendants Sheila Al-Sanabani and Ali Obad until

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Monday, June 23, 2008 at 9:00 a.m. in the United States Courthouse in Greenville, Mississippi;

       (3) The delay from May 12, 2008 to June 23, 2008 is excluded from Speedy Trial Act

considerations as set out above;

       (4) The deadline for filing pretrial motions is June 2, 2008; and

       (5) The deadline for submitting a plea agreement is June 9, 2008.

       SO ORDERED this the 28th day of April, A.D., 2008.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE




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